   Case 3:19-md-02885-MCR-GRJ Document 1515 Filed 11/05/20 Page 1 of 10




         IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS
EARPLUG PRODUCTS LIABILITY
LITIGATION,                                  Case No. 3:19-md-2885

                                             Judge M. Casey Rodgers
                                             Magistrate Judge Gary R. Jones
This Document Relates to All Cases
_________________________________/

                                   ORDER

     Pending before the Court is Defendants’ Motion to Compel Plaintiffs

to Produce All Facts or Data Considered by Plaintiffs’ Experts. ECF No.

1479. Plaintiffs filed a response in opposition, ECF No. 1491, and

Defendants, with leave of court, filed a reply memorandum, ECF No. 1510.

The instant motion, therefore, is ripe for consideration. For the reasons

discussed below, Defendants’ motion to compel is due to be GRANTED IN

PART and DENIED IN PART.

                           I.     BACKGROUND

     This multidistrict litigation is a products liability action concerned with

whether Defendants were negligent in their design, testing, and labeling of

the nonlinear dual-ended Combat Arms Earplug Version 2 (the “CAEv2”).

Plaintiffs are servicemembers, veterans, and civilians, asserting state law

claims for negligence and strict products liability based on design defect
    Case 3:19-md-02885-MCR-GRJ Document 1515 Filed 11/05/20 Page 2 of 10




and failure-to-warn theories, as well as warranty, misrepresentation, fraud,

gross negligence, negligence per se, and consumer-protection claims.

They are seeking damages for hearing loss, tinnitus, and related injuries

caused by their use of the CAEv2.

      The parties are engaged in case-specific discovery related to the

Bellwether Plaintiffs’ claims and Defendants’ defenses. On October 9,

2020, the Trial Group A Bellwether Plaintiffs disclosed to Defendants 44

expert reports (20 “general” reports and 24 case-specific reports). 1 One

such report—an exemplar used by Defendants in their motion and,

consequently, discussed by Plaintiffs—is authored by Dr. David A. Eddins.

ECF No. 1479-2. Dr. Eddins, a Professor and Director of the Auditory &

Speech Sciences Laboratory at the University of South Florida, was

retained by Plaintiffs to “provide [his] expert scientific input as to the fit,

function, and usability of the [CAEv2] hearing protection device[,]”

specifically “whether or not a hearing scientist with a background in clinical

audiology, in a well-equipped laboratory, could reasonably determine the

hearing protection ability.” Id. at 3. In short, Dr. Eddins opines that “design



1 Defendants say in their motion that Plaintiffs served them with 46 reports (21 “general”
reports and 25 case-specific reports). ECF No. 1479 at 3. This distinction is immaterial
to the resolution of this motion, but the Court will use the numbers stated by Plaintiffs
because this motion concerns their expert reports.

                                            2
   Case 3:19-md-02885-MCR-GRJ Document 1515 Filed 11/05/20 Page 3 of 10




issues lead to compromised fit and function that would impact many users

of the CAEv2 who otherwise expected to receive protection from hazardous

noise exposure when wearing either end of the dual-end earplug.” Id.

      One component of Dr. Eddins’ report, titled “Imperceptible Loosening:

3-Minute Jog,” studied Plaintiffs’ “concerns that the CAEv2 is subject to

imperceptible loosening.” Id. at 43. For one experiment, “[s]ubjects were fit

with earplugs … and asked to jog in place for [three] minutes while wearing

the earplugs and while wearing a backpack that weighed 30 pounds” while

“[m]easurements of insertion loss were made before and after the activity.”

Id. at 43–44. The report explains in detail how Dr. Eddins completed the

study using microphone in real ear (“MIRE”) testing and refers to both

human MIRE (“hMIRE”) and model MIRE (“mMIRE”) measurements. Id. at

44–46. Additionally, Dr. Eddins recorded the study “to document any

adverse events” to “offer the potential opportunity for visual confirmation of

changes in earplug position in the ear for any subjects who exhibited very

large changes in insertion loss as a result of the jogging activity.” Id. at 47.

      Dr. Eddins saved the video and hMIRE and mMIRE audio recordings

for later use. Id. at 46–47. Indeed, Dr. Eddins used data from the audio

recordings to create Figures 19 and 20 of his report. Id. at 48–49. As

Plaintiffs explain, “Figure 19 presents hMIRE recordings pre- and post-


                                       3
   Case 3:19-md-02885-MCR-GRJ Document 1515 Filed 11/05/20 Page 4 of 10




jogging activity and the data from all subjects,” and “Figure 20 likewise

presents hMIRE insertion loss data from individual subjects.” ECF No.

1491 at 7. Plaintiffs also say that Dr. Eddins used the video recordings “to

grab still shots of test subjects’ ears.” Id. Dr. Eddins’ report confirms this—

Figure 33 is labeled “[i]mages from the forward perspective for two subjects

immediately prior to the [three] minute jogging activity.” ECF No. 1479-2 at

66.

      Various other experts interviewed the Trial Group A Bellwether

Plaintiffs. ECF No. 1479 at 5. The parties agree that the comprehensive

case-specific reports disclosed some notes from these interviews.

      Defendants now move for an order compelling the production of

“facts or data considered by [Plaintiffs’ experts] in forming” the opinions

they express. Fed. R. Civ. P. 26(a)(2)(B)(i)–(ii). They say in their motion

this includes:

      (1) raw data generated during testing and considered in forming
      the expert’s opinions, such as the audio and video files discussed
      in Dr. Eddins’ report; (2) models and formulas (that are not
      publicly available and have not been produced) considered in
      forming the expert’s opinions; (3) measurements considered in
      forming the expert’s opinions; (4) non-publicly-available,
      unproduced documents considered in forming the expert’s
      opinions; and (5) interview notes from factual interviews
      conducted by Plaintiffs’ experts and any forms filled out by, or on
      behalf of, Plaintiffs with factual information.



                                       4
   Case 3:19-md-02885-MCR-GRJ Document 1515 Filed 11/05/20 Page 5 of 10




ECF No. 1479 at 9–10.

      Since Defendants filed their motion, Plaintiffs have agreed to allow

Defendants to inspect Dr. Eddins’ laboratory, advised Defendants that

some of their experts do not possess interview or visit notes, and

supplemented case-specific reports to include additional information that

Defendants argue was not provided but are “facts or data” under Rule

26(a)(2)(B)(ii). ECF No. 1491 at 3; see also ECF No. 1510 at 1 (“[O]ver the

last two weeks, Plaintiffs produced 16 amended expert reports. At least

eight included new interview notes, and two included new numerical

data.”). This includes “all extant interview notes[.]” ECF No. 1491 at 12–

13. Moreover, Dr. Eddins “has agreed to produce spreadsheets of every

graphic data point collected form the hMIRE probe microphone[,]” as well

as the mMIRE recordings. ECF No. 1491 at 7. Plaintiffs argue they have

complied with the Rule 26 disclosure requirements for all of their experts

and Defendants’ motion should be denied where it fails “to review

[Plaintiffs’ remaining] reports or specify any alleged deficiencies.” Id. at 13.

As to Dr. Eddins, Plaintiffs assert that he did not consider in formulating his

opinions the audio and video recordings Defendants seek, his report

includes his models, formulas and measurements (or this information has




                                       5
     Case 3:19-md-02885-MCR-GRJ Document 1515 Filed 11/05/20 Page 6 of 10




otherwise been disclosed), and Dr. Eddins did not consider any non-

publicly-available, unproduced documents or forms.

       This leaves Defendants’ reply memorandum, in which the remaining

issues are the disclosure of Plaintiffs’ experts’ interview notes, ECF No.

1510 at 1–20, and Dr. Eddins’ audio and video recordings, id. at 2–4. Yet,

Defendants point tersely to other expert “consideration materials” they

contend Plaintiffs must produce: “(1) Berkley ‘SPICE simulation files’ used

to obtain the models in Figures 8-11 of the Armstrong report; (2) models of

acoustic resistance measurements referenced in Figures 15-22 of the

Armstrong report; or (3) a ‘Consultation with Dr. Bielefeld, Audiologist;

September 4, 2020’ listed in Elizabeth Davis’ reliance materials list[.]” Id. at

2.

                         II.    LEGAL STANDARD

       A party’s expert disclosure “must contain … the facts or data

considered by the [expert] in forming” the expert’s opinions. Fed. R. Civ. P.

26(a)(2)(B)(ii). The linchpin of this rule is the term “considered,” which has

been defined “broadly to include materials that an expert reviews, reflects

upon, reads, and/or uses.” Dyson Tech. Ltd. v. Maytag Corp., 241 F.R.D.

247, 251 (D. Del. 2007); see also Friebel v. Paradise Shorts of Bay Cty.,

LLC, No. 5:10-cv-120-RS-EMT, 2011 WL 2420230, at *1 (N.D. Fla. June


                                       6
   Case 3:19-md-02885-MCR-GRJ Document 1515 Filed 11/05/20 Page 7 of 10




13, 2011) (“facts or data” is “interpreted broadly to require disclosure of any

material considered by the expert, from whatever source, that contains

factual ingredients”); Synthes Spine Co. v. Walden, 232 F.R.D. 460, 463

(E.D. Pa. 2005) (“information furnished to a testifying expert that such an

expert generates, reviews, reflects upon, reads, and/or uses in connection

with the formulation of his opinions, even if such information is ultimately

rejected”).

      “Although an expert’s representation as to whether or not he

considered a document is not controlling, his testimony that he did not

receive, read, review, or author a document will negate discovery absent

evidence to the contrary.” Euclid Chem. Co. v. Vector Corrosion Tech.,

Inc., No. 1:05-cv-80, 2007 WL 1560277, at *4 (N.D. Ohio May 29, 2007).

Any ambiguities as to what materials were considered should be resolved

in favor of discovery. Id.; see also Emps. Committed for Justice v.

Eastman Kodak Co., 251 F.R.D. 101, 104 (W.D.N.Y. 2008).

                             III.   DISCUSSION

      Defendants’ motion to compel raises only a few discrete,

straightforward discovery issues concerning the Trial Group A Bellwether

Plaintiffs’ expert disclosures. The Court will address each in turn.




                                       7
    Case 3:19-md-02885-MCR-GRJ Document 1515 Filed 11/05/20 Page 8 of 10




      First, notwithstanding Defendants’ request, the Court will not enter a

blanket order requiring “Plaintiffs to disclose all facts or data considered by

their experts in forming their expert opinions.” ECF No. 1479 at 10. Rule

26(a)(2)(B)(ii) is self-executing, and Plaintiffs say they have, in good faith,

disclosed all information they and their experts believe would fall within this

rule. Accordingly, such an order has no practical purpose.

      More pointedly, it is Defendants’ burden on a motion to compel to

“frame the dispute clearly” and “set out the reasons why the discovery

should be compelled.” N.D. Fla. Loc. R. 26.1(D). Although they have done

that for Dr. Eddins’ expert report, the Court cannot extrapolate from a single

expert report to infer a widespread deficiency in Plaintiffs’ entire expert

disclosures. Therefore, other than as to Dr. Eddins (whose report is

addressed below), Defendants’ motion is due to be denied because they

have made no attempt to narrowly tailor their request by specifically

explaining or identifying what requested data or documents cited or

referenced in Plaintiff's expert reports have yet to be produced.” Armor

Screen Corp. v. Storm Catcher, Inc., No. 07-81091-CIV, 2008 WL

5262707, at *3 (S.D. Fla. Dec. 17, 2008).2


2 The Court will not address Defendants’ passing reference in their reply memorandum to
three other purported deficiencies in Plaintiffs’ expert disclosures because they did not
raise these issues in their initial motion to compel. See Tafel v. Lion Antique Invs. &

                                           8
    Case 3:19-md-02885-MCR-GRJ Document 1515 Filed 11/05/20 Page 9 of 10




      Second, Defendants’ motion to compel the additional disclosure of

Plaintiffs’ experts’ interview notes is due to be denied as moot. Plaintiffs

say they “disclosed all extant interview notes” initially or with amended

reports, ECF No. 1491 at 12, and Defendants do not cite any evidence to

the contrary in their reply memorandum, ECF No. 1510 at 1–2. Therefore,

this discovery dispute is moot. DeepGulf, Inc. v. Moszkowski, 330 F.R.D.

600, 604 (N.D. Fla. Jan. 30, 2019); S.E.C. v. Huff, No. 08-60315-CIV, 2010

WL 228000, at *2 (S.D. Fla. Jan. 13, 2010).

      Finally, as to Dr. Eddins, Defendants’ motion to compel is due to be

granted only to the extent he must disclose certain audio and video

recordings. As Plaintiffs assert in their response, Defendants do not point

to any deficiencies in Dr. Eddins’ report that fall within the other four

categories of “facts or data” suggested by Defendants. ECF No. 1491 at

4–12. 3 However, the Court concludes that Dr. Eddins considered the

actual audio and video recordings underlying the graph, figures, and

images in his expert report. It is evident that Dr. Eddins generated these




Consulting Servs., 459 F. App’x 847, 849 (11th Cir. 2012); Ceant v. Aventura Limousine
& Transp. Serv., Inc., 874 F. Supp. 2d 1373, 1382 (S.D. Fla. 2012).
3 It bears mentioning that Dr. Eddins is not required to turn over completed questionnaires
if he produces to Defendants the survey responses in summary form. ECF No. 1491 at
11–12.

                                            9
    Case 3:19-md-02885-MCR-GRJ Document 1515 Filed 11/05/20 Page 10 of 10




recordings in connection with the formulation of his opinions, Synthes

Spine Co., 232 F.R.D. at 463, because they are the bases for the “raw

data” that summarized in his report—whether in his graphs and figures,

ECF No. 1479-2 at 48–49, or in still images, id. at 66—and produced to

Defendants in spreadsheet format. Avaya, Inc. v. Telecom Labs, Inc., No.

06-2490, 2016 WL 223696, at *4 (D.N.J. Jan. 19, 2016). This production is

necessary to give Defendants “a reasonable opportunity to prepare for

effective cross examination and perhaps arrange for expert testimony from

other witnesses[.]” Fed. R. Civ. P. 26 advisory committee’s note. 4

                               IV.   CONCLUSION

       Accordingly, it is ORDERED that Defendants’ Motion to Compel

Plaintiffs to Produce All Facts or Data Considered by Plaintiffs’ Experts,

ECF No. 1479, is GRANTED IN PART and DENIED IN PART. Plaintiffs

must produce to Defendants the audio and video recordings considered by

Dr. Eddins in formulating the opinions stated in his expert report.

       DONE AND ORDERED this 5th day of November 2020.

                                               s/Gary R. Jones
                                              GARY R. JONES
                                              United States Magistrate Judge


4Any disclosure of a test subject’s protected health information, 45 C.F.R. § 160.103,
must be subject to a protective order.

                                         10
